     Case: 1:21-cv-03938 Document #: 40 Filed: 05/11/23 Page 1 of 1 PageID #:230

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Heather Rudy
                                     Plaintiff,
v.                                                      Case No.: 1:21−cv−03938
                                                        Honorable Andrea R. Wood
D F Stauffer Biscuit Co Inc
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 11, 2023:


        MINUTE entry before the Honorable Andrea R. Wood: Plaintiff having filed a
notice of voluntary dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) [38], this case is
dismissed with prejudice. The requirement to file a joint status report by 5/10/2023 [37] is
vacated. All pending hearing dates and motions are stricken. Civil case terminated. Mailed
notice (lma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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